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United States Courts
Southern District of Texas

A091 (Rev. 8/01) Criminal Complaint

UNITED STATES DISTRICT COURT AUG 30 2014
SOUTHERN DISTRICT OF TEXAS

David J. Bradley, Clerk of Court
UNITED STATES OF AMERICA
V. CRIMINAL COMPLAINT
Louis Lamont HAWKINS ;
Pete SANCHEZ Case Number:

CV ~F3 GH,

|, the undersigned complainant state that the following is true and correct to the best of my

 

knowledge and belief. On or about 8/28/2014 in Brooks County, in the
(Date)
Southern District of Texas defendants, Louis Lamont HAWKINS and Pete SANCHEZ

did knowingly or in a reckless disregard of the fact that an alien had come to, entered, or remained in the United
States in violation of law, transport, or move or attempt to transport or move such alien within the United States
by means of transportation or otherwise, in furtherance of such violation of law,

in violation of Title 8 United States Code, Section(s) 1324
| further state that | am a(n) Special Agent and that this complaint is based on the
following facts: Official Title

 

 

See Attached Affidavit of Special Agent David L.. Muir

Continued on the attached sheet and made a part of this complaint: [x] Y. [|

 

“XN
X SignatyfE of Complainant

David L. Muir
Printed Name of Complainant

 

Sworn to before me and signed in my presence, and probable cause found

     
    
 
   
 

oy

August 30, 2014 at Corpus Christi, Texas
Date City and State

 

Jason B. Libby U.S. Magistrate Judge
Name and Title of Judicial Officer

 

Signature of Jé@icial Officer
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AFFIDAVIT

On August 28, 2014, at approximately 1900 hours (hrs), United States Border Patrol Agents arrested
Louis Lamont HAWKINS, Pete SANCHEZ, and four (4) illegal aliens in Brooks County, within the
Southern District of Texas. The arrests were subsequent to the discovery by Border Patrol Agents that
HAWKINS and SANCHEZ were engaged in knowingly aiding, abetting, transporting, and/or harboring
of alien persons who had come to be in the United States illegally.

On August 28, 2014 at approximately 1900 hrs, United States Border Patrol Agents Ramos and Cavazos
observed a 2014 Dodge Caravan bearing Texas license plate number DJN4853 traveling northbound on
Highway 281. The BPAs, whom had recently been on static duty at the USBP Checkpoint south of
Riviera, Texas, recognized DJN4853 as having come through the checkpoint several hours earlier. BPA
Ramos had inspected the vehicle as it passed through his lane of duty and remembered the driver stating
he and his passenger (HAWKINS) were traveling to Houston, Texas; BPA Ramos observed DJN4853

was occupied only by the driver and HAWKINS. Immediately after DJN4853 passed through inspection,
BPA Ramos was advised by BPA Guerra that DJN4853 had been referred to secondary inspection on the
previous night.

As BPAs pulled up alongside DJN4853 they noticed what appeared to be human silhouettes in the rear
windows. BPA Ramos observed that HAWKINS was now driving DJN4853; BPA Ramos also observed
a male person in the front passenger seat (later identified as SANCHEZ) who he recognized was not the
driver of DIN4853 when he inspected it earlier. BPAs passed the vehicle and noted it was traveling well
below the posted speed limit. BPAs, returning alongside DJN4853, observed that the human silhouettes
were now gone. Suspecting they were observing an alien smuggling event, BPAs initiated an
investigative detention on DJN4853 and its occupants.

As BPA Ramos approached the driver side of DJIN4853, HAWKINS stated “I was just giving them a
ride”. BPA Ramos instructed HAWKINS to lower the rear window; through the lowered window, BPA
Ramos observed four persons attempting to conceal themselves from view within DJN4853. BPAs
conducted immigration interviews on the four persons found to be in the rear section of DJN4853; during
the interviews it was determined that all four persons were citizens Mexico whom had come to be, and
were traveling within the United States illegally. BPAs placed HAWKINS, SANCHEZ, and the four
illegal aliens under arrest at that time.

STATEMENT of Louis Lamont HAWKINS:
During interviews, subsequent to the advisement of his constitutional rights, HAWKINS made
substantially the following statements (paraphrased):

HAWKINS advised SAs that he had been asked by a man named Adrian XX to drive DJN4853 to
Houston, Texas; where HAWKINS had been trying to get to. For driving the vehicle to Houston,
HAWKINS would be paid $100 and be allowed to borrow the vehicle. HAWKINS stated that Adrian
advised him they would need to stop along the way and pick up a friend of Adrian’s. HAWKINS advised
that Adrian had helped him out in the past, so he felt indebted to him. HAWKINS accepted the
arrangements; HAWKINS stated he did not realize he would be picking up illegal aliens until they got in
the car. HAWKINS stated he knew at least two of the five passengers he picked up were illegal aliens
when he saw them because of how dirty they were. He also stated he recognized one of the men
(SANCHEZ) as a brush guide because he was wearing camouflage and spoke English.

STATEMENT of MATERIAL WITNESSE Jose Alfredo AMARO-Romero:
During interviews, subsequent to the advisement of his constitutional rights, AMARO made substantially
the following statements (paraphrased):
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AMARO admitted he is a citizen and national of Mexico who had entered and come to be in the United
States without having been lawfully admitted. AMARO admitted he had paid $3,500.00 to be transported
from his home in Mexico to Houston, Texas. AMARO advised subsequent to crossing the Rio Grande
River, he had been transported to a residence in an unknown location in Texas where he remained for
approximately five days; he was then transported and dropped off in the brush about a day before his
arrest. AMARO stated he and other persons were guided in a manner designed to circumvent the USBP
Checkpoint by a brush guide whom he later identified via six-pack photo line-up (SANCHEZ). AMARO
advised SANCHEZ guided them to a location where they were picked up on the side of a road by a man
driving a van. AMARO was able to identify the driver of the vehicle via six-pack photo line-up
(HAWKINS).

STATEMENT of MATERIAL WITNESS Rubin FLORES-Resendiz:
During interviews, subsequent to the advisement of his constitutional rights, FLORES made substantially
the following statements (paraphrased):

FLORES admitted he is a citizen and national of Mexico who had entered and come to be in the United
States without having been lawfully admitted. FLORES advised subsequent to crossing the Rio Grande
River, he had been transported to a residence in an unknown location in Texas where he remained for
approximately one day; he was then transported to a hotel where he remained for another three days.
FLORES stated he was picked up from the hotel and transported to a location where he was dropped off
in the brush about a day before his arrest. FLORES stated he and other persons were guided in a manner
designed to circumvent the USBP Checkpoint by a brush guide whom he later identified via six-pack
photo line-up (SANCHEZ). FLORES advised SANCHEZ guided them to a location where they were
picked up on the side of a road by a man driving a van. FLORES was able to identify the driver of the
vehicle via six-pack photo line-up (HAWKINS).

A query of Homeland Security databases indicates SANCHEZ has been apprehended by United States
Border Patrol Agents on two previous occasions and administratively processed for alien smuggling.
These previous apprehensions occurring in May of 2013, in Freer, Texas; and in April of 2014, in
Weslaco, Texas; both in the Southern District of Texas.

DISPOSITION:

HSI Corpus Christi Special Agents were notified of the facts of the case and have initiated a criminal
investigation based upon those facts. Affiant respectfully submits that probable cause exists to believe
that both HAWKINS and SANCHEZ did knowingly aid, abet, r alien persons who
ORES, and others, in

   
    

detained as material witnesses in this matter.

 

David L. Muir
Special Ag
Homeland Security Investigations

   

Jason B. Libby
United States Magistrate Judge
